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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL



 Case No.         SACR 14-00167-JVS                                                              Date    April 23, 2019


 Present: The Honorable                      James V. Selna. US District Court Judge
 Interpreter

                Lisa Bredahl                        Sharon Seffens                       Shawn Nelson/Benjamin Lichtmann
                Deputy Clerk                        Court Reporter.                               Assistant U.S. Attorney



                U.S.A. v. Defendant(s):           Present Cust. Bond           Attorneys for Defendants:         Present App. Ret.

JOSEPH ROH                                          X            X        Gregory Nicolaysen                          X      X


                         Closing Argument and Argument on Rule 29 Motion for Judgment of Acquittal and Motion
 Proceedings:            for Judgment of Acquittal and Motion to Dismiss for Unconstitutional Vagueness


Cause is called for hearing with the defendant, his counsel, and counsel for the Government present.
Court and counsel confer. At the request of the Government the hearing is ordered OFF CALENDAR
as the defendant has agreed to a plea agreement.




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                                                                      Initials of Deputy Clerk     lmb




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